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                                                                    Harman International Industries, Inc.
                                                               6
                                                               7
                                                               8                           UNITED STATES DISTRICT COURT
                                                               9                          CENTRAL DISTRICT OF CALIFORNIA
                                                               10
                                                               11   HARMAN INTERNATIONAL                    Case No. 2:20-CV-08222
SNELL & WILMER




                                                                    INDUSTRIES, INC., a Delaware
                               LOS ANGELES, CALIFORNIA 90071
                                 350 SOUTH GRAND AVENUE




                                                               12   corporation,                            COMPLAINT FOR:
                                    CITY NATIONAL 2CAL
                      LAW OFFICES

                                         SUITE 3100




                                                               13                    Plaintiff,
             L.L.P.




                                                                                                            (1) Federal Trademark
                                                               14             v.                            Infringement;
                                                                                                            (2) Federal False Designation of
                                                               15   JEM ACCESSORIES, INC. DBA               Origin & Unfair Competition;
                                                                    XTREME CABLES, a New Jersey
                                                               16   corporation,                            (3) Federal Trademark Dilution;
                                                                                                            (4) Unfair Competition Under Cal.
                                                               17                    Defendant.             Bus & Prof. Code § 17200;
                                                               18                                           (5) Common Law Trademark
                                                                                                            Infringement;
                                                               19                                           (6) Declaratory Judgment of Non-
                                                               20                                           Infringement; and
                                                                                                            (7) Declaratory Judgment of Non-
                                                               21                                           Infringement.
                                                               22
                                                                                                            JURY TRIAL DEMANDED
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                                                                                                                                       COMPLAINT
                                                                                                                                    2:20-CV-08222
                                                                    4837-6942-6122
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                                                               1              Plaintiff Harman International Industries, Inc. (“Harman” or “Plaintiff”), for
                                                               2    its Complaint against Defendant Jem Accessories, Inc. dba Xtreme Cables (“Jem” or
                                                               3    “Defendant”), alleges as follows:
                                                               4                                OVERVIEW OF THIS ACTION
                                                               5              1.     Harman, whose largest corporate division is located in California, owns
                                                               6    some of the most famous audio brands in the world, such as INFINITY® and JBL®.
                                                               7    Jem has helped itself to Harman’s federally registered INFINITY® mark and is
                                                               8    advertising and selling INFINITY-branded speakers throughout the United States,
                                                               9    including in California. Harman commenced this action to stop Jem from using
                                                               10   INFINITY and to protect consumers from Jem’s knock-off INFINITY-branded
                                                               11   speakers.
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                                                               12             2.     Harman also seeks a declaration that its use of the descriptor “Xtreme”
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                                                               13   in connection with the advertising and sale of various JBL®-branded speakers, i.e.,
             L.L.P.




                                                               14   JBL® OnBeat Xtreme Speakers, JBL® Xtreme Speakers, JBL® Xtreme Speakers 2,
                                                               15   does not infringe or violate any XTREME mark allegedly owned by Jem. For nearly
                                                               16   two decades, Jem watched as Harman advertised and sold JBL® Control Xtreme
                                                               17   speakers followed by JBL® OnBeat Xtreme Speakers followed by JBL® Xtreme
                                                               18   Speakers and followed by JBL® Xtreme Speakers 2 and enjoyed extraordinary
                                                               19   success, while Jem languished. In late June, Jem decided to attempt to misappropriate
                                                               20   Harman’s success.
                                                               21             3.     Jem improperly sued Harman in New York, a venue in which neither
                                                               22   Jem nor Harman have principal places of business or are incorporated. In the New
                                                               23   York action, Jem alleges that Harman’s use of “Xtreme” in connection with certain
                                                               24   JBL® speakers infringes Jem’s alleged mark XTREME and variations thereof and
                                                               25   seeks treble damages from sales Harman made while Jem watched in silence. Harman
                                                               26   will be moving to dismiss the claims against it in the New York action or transfer
                                                               27   those claims to this Court for consolidation with this action.
                                                               28
                                                                                                                -2-                              COMPLAINT
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                                                               1                                             PARTIES
                                                               2              4.     Harman is a Delaware corporation with a principal place of business
                                                               3     located at 8500 Balboa Boulevard, Northridge, California 91329.
                                                               4              5.     Jem is a New Jersey corporation with a principal place of business
                                                               5     located at 32 Brunswick Avenue, Edison, New Jersey 08817.
                                                               6                                 JURISDICTION AND VENUE
                                                               7              6.     The Court has subject matter jurisdiction over Harman’s claims for
                                                               8    trademark infringement, false designation of origin, unfair competition, and
                                                               9    trademark dilution, as well as its claims for declaratory judgment, because they all
                                                               10   arise under federal law. 15 U.S.C. § 1121; 28 U.S.C. §§ 1331, 1338; 28 U.S.C. §§
                                                               11   2201, 2202. The Court has supplemental jurisdiction over Harman’s state-law claims
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                                                               12   because they are so related to the federal claims that they are part of the same case or
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                                                               13   controversy and derive from a common nucleus of operative facts. 28 U.S.C. §
             L.L.P.




                                                               14   1367(a).
                                                               15             7.     The Court has personal jurisdiction over Jem because Jem owns and
                                                               16   operates interactive websites xtremecables.com and xtremecables.net where it
                                                               17   advertises, promotes, markets, distributes and sells audio products to California
                                                               18   residents, including speakers and product packages bearing Harman’s famous mark
                                                               19   INFINITY, as well as audio-related products and product packages bearing marks
                                                               20   that Jem alleges are infringed by Harman’s use of “Xtreme” in connection with
                                                               21   certain JBL® speakers.
                                                               22             8.     Jem purposefully advertises, promotes, markets, distributes and sells its
                                                               23   audio products, including speakers and product packages bearing Harman’s famous
                                                               24   mark INFINITY to retailers in California who Jem knows, in turn, sell to end users
                                                               25   in California, thereby causing confusion, deception and mistake among businesses,
                                                               26   consumers and end users in California.
                                                               27             9.     Jem is infringing, unfairly competing with and diluting Harman’s
                                                               28   INFINITY® mark, with actual knowledge that Harman resides in California and is
                                                                                                                -3-                                COMPLAINT
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                                                               1    thus being harmed in California. Harman’s largest corporate division, its Lifestyle
                                                               2    Audio Division, is in California and is responsible for the marketing, promotion,
                                                               3    advertising and sale of its INFINITY®-branded speakers, as well the JBL®-branded
                                                               4    speakers in connection with which Harman uses the descriptor Xtreme.
                                                               5              10.    This Court also has pendent personal jurisdiction over Jem. Jem
                                                               6    markets, promotes, advertises and sells INFINITY-branded speakers in packages to
                                                               7    customers and end users in California. Jem’s advertising, promotion, distribution and
                                                               8    sale of INFINITY-branded speakers infringes, unfairly competes with and dilutes
                                                               9    Harman’s famous and federally registered INFINITY® marks for speakers.
                                                               10   Harman’s use of “Xtreme” in connection with the advertising, promotion,
                                                               11   distribution and sale of JBL®-branded speakers does not infringe, unfairly compete
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                                 350 SOUTH GRAND AVENUE




                                                               12   with, dilute or otherwise violate any rights that Jem may own in its alleged XTREME
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                                                               13   marks or variations thereof.
             L.L.P.




                                                               14             11.    Venue is proper in this judicial district because this Court has personal
                                                               15   jurisdiction over Jem. 28 U.S.C. § 1391(c)(2). Jem resides in this district under 28
                                                               16   U.S.C. § 1391(d) and a substantial part of the events or omissions that give rise to
                                                               17   Harman’s claims occurred in this district because, among other things, Harman’s
                                                               18   Lifestyle Audio Division is located in this district and is responsible for the
                                                               19   advertising, marketing, promotion and sale of the INFINITY®-branded speakers, as
                                                               20   well as the JBL®-branded speakers in connection with which Harman uses the
                                                               21   descriptor “Xtreme.” 28 U.S.C. § 1391(b)(1) and (b)(2).
                                                               22                      FACTS GIVING RISE TO HARMAN’S CLAIMS
                                                               23             I.     Harman’s Claims for Trademark Infringement, False Designation
                                                               24                    of Origin, Unfair Competition and Trademark Dilution
                                                               25                    A.    Harman and Its INFINITY®-Branded Speakers
                                                               26             12.    Harman has continuously sold speakers under the mark INFINITY® in
                                                               27   the United States since 1969.
                                                               28
                                                                                                                -4-                                COMPLAINT
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                                                               1              13.    Harman’s INFINITY® mark for speakers is inherently distinctive
                                                               2    because it does not describe an attribute or characteristic of speakers.
                                                               3              14.    Harman owns U.S. Registration Nos. 1,130,710 and 1,385,113 for
                                                               4    INFINITY® for speakers. Exhibit A (INFINITY® registrations).
                                                               5              15.    Issued over 30 years ago, Harman’s registrations for INFINITY® for
                                                               6    speakers are incontestable and thus “conclusive evidence” of the validity of that mark
                                                               7    and Harman’s ownership and “exclusive right” to use that mark on speakers. See 15
                                                               8    U.S.C. § 1115(b).
                                                               9              16.    For many years, Harman has advertised, promoted, distributed and sold
                                                               10   INFINITY®-branded speakers at infinityspeakers.com, harmanaudio.com and in
                                                               11   stores throughout the United States.
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                                                               12             17.    Based on 50 years of continuous, substantially exclusive use of the mark
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                                                               13   INFINITY® for speakers, the substantial investment of resources to advertise and
             L.L.P.




                                                               14   promote INFINITY®-branded speakers, significant revenues from the sale of those
                                                               15   speakers, and generations of unsolicited media coverage of INFINITY®-branded
                                                               16   speakers, Harman’s INFINITY® mark for speakers is widely recognized by the
                                                               17   general consuming public, including customers and end users of speakers, in the
                                                               18   United States and California as a designation of the source of speakers.
                                                               19                    B.    Jem’s Advertising and Sale of Speakers Under the Mark
                                                               20                          INFINITY
                                                               21             18.    Decades after Harman began to use and had registered the INFINITY®
                                                               22   mark for speakers, Jem commenced use of the INFINITY mark to advertise, promote,
                                                               23   distribute and sell speakers without Harman’s authorization.
                                                               24             19.    Jem’s INFINITY mark is identical in sight, sound, meaning, and
                                                               25   commercial impression to Harman’s famous INFINITY® mark for speakers.
                                                               26             20.    Jem uses the mark INFINITY for speakers, the same product for which
                                                               27   Harman uses and has registered its INFINITY® mark.
                                                               28
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                                                               1              21.    Jem’s use of the mark INFINITY for speakers is likely to cause
                                                               2    confusion, mistake and deception as to the origin and association of Jem’s speakers
                                                               3    and is likely to dilute Harman’s famous INFINITY® mark for speakers.
                                                               4              22.    Jem’s unauthorized use of the INFINITY mark for speakers has caused
                                                               5    Harman to lose control over the goodwill associated with the INFINITY® mark for
                                                               6    speakers, thereby causing Harman to suffer irreparable harm.
                                                               7              II.    Harman’s Claims for Declaratory Judgment
                                                               8                     A.    Harman and Its JBL® Speakers
                                                               9              23.    Harman has continuously sold speakers under the JBL® mark in the
                                                               10   United States since 1949.
                                                               11             24.    Harman owns incontestable federal registrations for the JBL® mark
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                                                               12   for speakers, including Registration Nos. 782,327, 883,096 and 880,890, all of
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                                                               13   which issued over 50 years ago. Exhibit B (JBL® registrations).
             L.L.P.




                                                               14             25.    Based on 70 years of continuous, substantially exclusive use of the mark
                                                               15   JBL® for speakers, the investment of significant resources to advertise and promote
                                                               16   JBL®-branded speakers, substantial revenues from the sale of those speakers and
                                                               17   generations of unsolicited media coverage of the speakers, Harman’s JBL® mark for
                                                               18   speakers is widely recognized by the general consuming public, including customers
                                                               19   and end users of speakers, in the United States and California as a designation of the
                                                               20   source of speakers.
                                                               21             26.    Harman uses descriptive terms in connection with JBL®-branded
                                                               22   speakers including “Flip”, “Boombox” and “Charge,” among others. Since as early
                                                               23   as 2002, Harman began to use the term “Xtreme” in connection with JBL®-branded
                                                               24   speakers, starting with JBL® Control Xtreme Speakers, followed by JBL® OnBeat
                                                               25   Xtreme Speakers, followed by JBL® Xtreme Speakers, and now followed by JBL®
                                                               26   Xtreme 2 Speakers.
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                                                               1              27.    Since as early as 2002, Harman has advertised, promoted and marketed
                                                               2    JBL®-branded speakers that use the descriptive term “Xtreme” to tens of millions of
                                                               3    people throughout the United States, including by way of print and the Internet.
                                                               4              28.    New models of Harman’s JBL®-branded speakers that use the
                                                               5    descriptor “Xtreme” (as well as those using other descriptive terms) have been
                                                               6    featured at prominent industry and trade shows for over a decade.
                                                               7              29.    Over the last two decades, Harman’s JBL®-branded speakers using the
                                                               8    descriptor Xtreme (as well as those using other descriptors) have garnered numerous
                                                               9    accolades and recognitions.
                                                               10             30.    Since at least 2002, Harman’s JBL®-branded speakers that use the
                                                               11   Xtreme descriptor (as well as those using other descriptors) have generated
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                                                               12   substantial media coverage throughout the United States, including in The New York
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                                                               13   Times, The Boston Herald, The Guardian, Business Insider, The Daily Beast, Slate,
             L.L.P.




                                                               14   CNET, and TechHive.
                                                               15             31.    Since at least 2002, Harman has advertised, distributed and sold JBL®-
                                                               16   branded speakers using the descriptive term Xtreme to customers and end users
                                                               17   throughout the United States.
                                                               18                    B.    Jem’s Infringement Allegations Against Harman
                                                               19             32.    Despite Harman’s widespread, open and continuous use of Xtreme in
                                                               20   connection with JBL®-branded speakers since at least 2002, Jem suddenly sued
                                                               21   Harman in late June 2020 in New York federal court alleging that Harman’s use of
                                                               22   “Xtreme” for certain speakers infringes Jem’s federally registered XTREME
                                                               23   DIGITAL LIFESTLYE ACCESSORIES (Stylized) and XTRAEM marks and
                                                               24   common-law marks XTREME and X XTREME for audio products and accessories
                                                               25   (collectively, “Jem’s alleged XTREME marks”).
                                                               26             33.    Jem’s alleged XTREME marks are weak, dilute, and not recognized by
                                                               27   the public as identifying the source of audio products or accessories. Numerous third
                                                               28   parties have used and are using Xtreme to describe audio products and accessories.
                                                                                                               -7-                              COMPLAINT
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                                                               1    Harman’s use of the word “Xtreme” to describe JBL®-branded speakers is
                                                               2    substantially dissimilar in sight, sound, meaning, and commercial impression to
                                                               3    Jem’s alleged XTREME marks. Harman uses its famous JBL® mark near Xtreme on
                                                               4    packaging, in advertising, and on the speakers themselves and the font, color, size
                                                               5    and type face in which Xtreme appears in connection with the speakers is different
                                                               6    from the font, color, size and type face in which Jem’s alleged XTREME marks
                                                               7    appear.
                                                               8              34.    Despite extensive advertising, promotion, distribution, sales and media
                                                               9    coverage of JBL®-branded speakers that use the descriptive term Xtreme since at
                                                               10   least 2002, Harman is unaware of any instance of any person being confused that
                                                               11   Harman’s JBL® speakers were made by or associated with Jem, Jem’s products, or
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                                                               12   Jem’s alleged XTREME marks.
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                                                               13             35.    There is no likelihood of confusion, deception or mistake arising from
             L.L.P.




                                                               14   Harman’s advertising, promotion, marketing, distribution, packaging and/or sale of
                                                               15   JBL®-branded speakers that use Xtreme, including those dating speakers back to
                                                               16   2002.
                                                               17                                FIRST CLAIM FOR RELIEF
                                                               18    Direct and Contributory Federal Trademark Infringement, False Designation
                                                               19                               of Origin and Unfair Competition
                                                               20                                      (15 U.S.C. § 1114(1))
                                                               21             36.    Harman re-alleges the allegations in Paragraphs 1 through 35, above.
                                                               22             37.    Harman owns valid and incontestable federal trademark registrations for
                                                               23   the mark INFINITY® for speakers.
                                                               24             38.    Jem’s use of the mark INFINITY in connection with the advertising,
                                                               25   promotion, marketing, distribution and sale of speakers is likely to cause confusion,
                                                               26   mistake, or deception that Harman manufactures, licenses, sponsors or approves
                                                               27   those speakers and/or that Harman is affiliated, connected or associated with the
                                                               28   speakers.
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                                                               1              39.    Jem sells and distributes INFINITY-branded speakers to companies and
                                                               2    retailers, including in California, who Jem knows, in turn, sell those speakers to end
                                                               3    users throughout the United States, including end users in California.
                                                               4              40.    Jem’s use of the INFINITY mark constitutes direct and contributory
                                                               5    trademark infringement, false designation of origin, and unfair competition in
                                                               6    violation of Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1).
                                                               7              41.    Jem’s wrongful conduct has caused and is causing irreparable harm to
                                                               8    Harman for which Harman has no adequate remedy at law.
                                                               9                                SECOND CLAIM FOR RELIEF
                                                               10    Direct and Contributory Federal Trademark Infringement, False Designation
                                                               11                               of Origin and Unfair Competition
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                                                               12                                     (15 U.S.C. § 1125(a))
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                                                               13             42.    Harman re-alleges the allegations in Paragraphs 1 through 41, above.
             L.L.P.




                                                               14             43.    Harman owns valid federally registered and common-law marks for
                                                               15   INFINITY® for speakers.
                                                               16             44.    Jem’s use of the INFINITY mark in connection with the advertising,
                                                               17   promotion, marketing, distribution and sale of speakers is likely to cause confusion,
                                                               18   mistake, or deception that Harman manufactures, licenses, sponsors or approves
                                                               19   those speakers and/or that Harman is affiliated, connected or associated with the
                                                               20   speakers.
                                                               21             45.    Jem sells and distributes speakers under the mark INFINITY to
                                                               22   companies and retailers, including in California, who Jem knows, in turn, sell those
                                                               23   speakers directly to end users throughout the United States, including to end users in
                                                               24   California.
                                                               25             46.    Jem’s use of INFINITY for speakers constitutes direct and contributory
                                                               26   trademark infringement, false designation of origin and unfair competition in
                                                               27   violation of Section 43(a)(1)(A) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A).
                                                               28
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                                                               1              47.      Jem’s wrongful conduct has caused and is causing irreparable harm to
                                                               2    Harman for which Harman has no adequate remedy at law.
                                                               3                                   THIRD CLAIM FOR RELIEF
                                                               4                                    Federal Trademark Dilution
                                                               5                                         (15 U.S.C. § 1125(c))
                                                               6              48.      Harman re-alleges the allegations in Paragraphs 1 through 47, above.
                                                               7              49.      Harman owns valid federally registered and common-law marks for
                                                               8    INFINITY® for speakers.
                                                               9              50.      Harman’s INFINITY® marks are widely recognized by the general
                                                               10   consuming public in the United States as a designation of source of speakers and
                                                               11   were so decades before Jem commenced use of the mark INFINITY for speakers.
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                                                               12             51.      Harman’s INFINITY® marks for speakers are famous and became
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                                                               13   famous for speakers before Jem commenced use of the mark INFINITY for speakers.
             L.L.P.




                                                               14             52.      Jem’s INFINITY mark for speakers so closely resembles Harman’s
                                                               15   registered INFINITY® marks for speakers as to be likely to cause the dilution of the
                                                               16   distinctive quality of Harman’s INFINITY® marks for speakers in violation of
                                                               17   Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c).
                                                               18             53.      Jem’s wrongful conduct has caused and will continue to cause
                                                               19   irreparable harm to Harman for which Harman has no adequate remedy at law.
                                                               20                                 FOURTH CLAIM FOR RELIEF
                                                               21                    Direct and Contributory Unfair Competition in Violation of
                                                               22                      California Business & Professions Code § 17200 et seq.
                                                               23             54.      Harman re-alleges the allegations in Paragraphs 1 through 53, above.
                                                               24             55.      Harman owns valid federally registered and common-law marks for
                                                               25   INFINITY® for speakers.
                                                               26             56.      Jem’s use of the mark INFINITY in connection with advertising,
                                                               27   promotion, marketing, distribution and sale of speakers is likely to cause confusion,
                                                               28
                                                                                                                 - 10 -                            COMPLAINT
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                                                               1    mistake, or deception that Harman manufactures, licenses, sponsors or approves the
                                                               2    speakers and/or that Harman is affiliated, connected or associated with the speakers.
                                                               3              57.    Jem sells and distributes speakers under the mark INFINITY to
                                                               4    companies and retailers, including in California, who Jem knows, in turn, sell those
                                                               5    speakers directly to end users throughout the United States, including end users in
                                                               6    California.
                                                               7              58.    Jem’s unlawful and unfair business acts and practices constitute direct
                                                               8    and contributory unfair competition in violation of Section 17200 of the California
                                                               9    Business & Professions Code.
                                                               10             59.    Jem’s wrongful conduct has caused and is continuing to cause
                                                               11   irreparable harm to Harman for which Harman has no adequate remedy at law.
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                                                               12                                FIFTH CLAIM FOR RELIEF
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                                                               13         Direct and Contributory Trademark Infringement, False Designation of
             L.L.P.




                                                               14                    Origin, and Unfair Competition Under California Law
                                                               15             60.    Harman re-alleges the allegations in Paragraphs 1 through 59, above.
                                                               16             61.    Harman owns federally registered and common-law marks for
                                                               17   INFINITY® for speakers.
                                                               18             62.    Jem’s use of INFINITY in connection with the advertising, promotion,
                                                               19   marketing, distribution and sale of speakers is likely to cause confusion, mistake, or
                                                               20   deception that Harman manufactures, licenses, sponsors or approves those speakers
                                                               21   and/or that Harman is affiliated, connected or associated with the speakers.
                                                               22             63.    Jem sells and distributes speakers under the mark INFINITY to
                                                               23   companies and retailers, including in California, who Jem knows, in turn, sell those
                                                               24   speakers directly to end users throughout the United States, including end users in
                                                               25   California.
                                                               26             64.    Jem’s wrongful conduct constitutes direct and contributory trademark
                                                               27   infringement, false designation of origin and unfair competition in violation of
                                                               28   California law.
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                                                               1              65.    Jem’s wrongful conduct has caused and is causing irreparable harm to
                                                               2    Harman for which Harman has no adequate remedy at law.
                                                               3                                 SIXTH CLAIM FOR RELIEF
                                                               4          Declaratory Judgment That Harman’s Use of Xtreme Does Not Infringe
                                                               5                               Jem’s Federally Registered Marks
                                                               6                                     (28 U.S.C. §§ 2201, 2202)
                                                               7              66.    Harman re-alleges the allegations in Paragraphs 1 through 65, above.
                                                               8              67.    Jem has asserted in the New York action that Harman’s use of Xtreme
                                                               9    in connection with the sale, offering for sale, distribution, or advertising of certain
                                                               10   speakers infringes Jem’s federally registered marks for XTREME DIGITAL
                                                               11   LIFESTYLE ACCESSORIES (Stylized) for “brackets specially adapted for setting
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                                                               12   up flat screen TV sets; carrying cases for mobile computers; cell phone battery
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                                                               13   chargers; cell phone cases; cell phone covers; computer mouse; computer stylus;
             L.L.P.




                                                               14   protective cases for smartphones,” (Registration No. 4,563,219) and for XTRAEM
                                                               15   for “earphones, headphones, and ear buds,” (Registration No. 4,264,683) in violation
                                                               16   of 15 U.S.C. §§ 1114 and 1125.
                                                               17             68.    Harman used “Xtreme” for speakers before Jem’s alleged first use of its
                                                               18   XTREME marks, including Jem’s mark XTRAEM in Registration No. 4,426,683,
                                                               19   which is an invalid registration and is no longer in effect.
                                                               20             69.    Harman’s use of Xtreme for speaker products does not cause a
                                                               21   likelihood of confusion with Jem’s federally registered XTREME DIGITAL
                                                               22   LIFESTYLE ACCESSORIES (Stylized) or XTRAEM marks and does not infringe,
                                                               23   unfairly compete with, dilute or otherwise violate in any way Jem’s federally
                                                               24   registered marks under the federal Lanham Act or any other federal or state law.
                                                               25             70.    Harman and Jem have a controversy of sufficient immediacy and reality
                                                               26   to warrant declaratory relief.
                                                               27             71.    Pursuant to 28 U.S.C. §§ 2201 and 2202, Harman is entitled to the
                                                               28   issuance of a judgment declaring that Harman’s use of Xtreme in connection with the
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                                                               1    advertising, promotion, marketing, distribution and sale of speaker products,
                                                               2    including those speakers not expressly identified in Jem’s Amended Complaint in the
                                                               3    New York action does not infringe, unfair compete with, dilute or in any way violate
                                                               4    Jem’s federally registered XTREME DIGITAL LIFESTYLE ACCESSORIES
                                                               5    (Stylized) and XTRAEM marks under the federal Lanham Act or state law.
                                                               6                               SEVENTH CLAIM FOR RELIEF
                                                               7     Declaratory Judgment that Harman’s Use of Xtreme Does Not Infringe Jem’s
                                                               8       Claimed Common-Law Marks Xtreme, X Xtreme, Xtreme Digital Lifestyle
                                                               9                          Accessories, Xtraem, and Variations Thereof
                                                               10                                    (28 U.S.C. §§ 2201, 2202)
                                                               11             72.    Harman re-alleges the allegations in Paragraphs 1 through 71, above.
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                                                               12             73.    Jem has asserted in the New York action that Harman’s use of Xtreme
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                                                               13   in connection with the sale, offering for sale, distribution, or advertising of certain
             L.L.P.




                                                               14   speakers infringes Jem’s alleged common-law rights in Xtreme, X Xtreme, Xtreme
                                                               15   Digital Lifestyle Accessories, Xtraem, and any variations thereof, in violation of 15
                                                               16   U.S.C. § 1125 and New York common law.
                                                               17             74.    Harman used “Xtreme” for speakers before Jem’s alleged first use of its
                                                               18   XTREME marks.
                                                               19             75.    Harman’s use of Xtreme, including in connection with the speakers that
                                                               20   are not expressly identified in Jem’s Complaint in the New York action does not
                                                               21   cause a likelihood of confusion, deception or mistake with Jem or Jem’s claimed
                                                               22   common-law marks Xtreme, X Xtreme, Xtreme Digital Lifestyle Accessories,
                                                               23   Xtraem, and any variations thereof and does not infringe, unfairly compete with,
                                                               24   dilute or otherwise violate any Xtreme or Xtreme-formative marks alleged to be
                                                               25   owned by Jem under the Lanham Act or any state law.
                                                               26             76.    Harman and Jem have a controversy of sufficient immediacy and reality
                                                               27   to warrant declaratory relief.
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                                                               1              77.    Pursuant to 28 U.S.C. §§ 2201 and 2202, Harman is entitled to the
                                                               2    issuance of a judgment declaring that Harman’s use of Xtreme for speakers, including
                                                               3    the speakers that are not expressly identified in Jem’s Complaint in the New York
                                                               4    action, does not infringe, unfairly compete with, dilute or otherwise violate in any
                                                               5    way Jem’s claimed common-law marks Xtreme, X Xtreme, Xtreme Digital Lifestyle
                                                               6    Accessories, Xtraem, and any variation thereof under the Lanham Act or state law.
                                                               7                                     PRAYER FOR RELIEF
                                                               8              WHEREFORE Harman prays that the Court:
                                                               9              a.     Enter judgment in favor of Harman and against Jem on each claim
                                                               10   alleged in this Complaint;
                                                               11             b.     Enter a permanent injunction enjoining Jem and each of its agents,
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                                                               12   servants, employees, attorneys, officers, and all others in privity and acting in concert
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                                                               13   with Jem from (a) using or causing others to use in United States commerce the mark
             L.L.P.




                                                               14   INFINITY and any similar marks, alone or in combination with any other word(s),
                                                               15   term(s), designation(s), mark(s), or design(s), pursuant to 15 U.S.C. § 1116;
                                                               16             c.     Order Jem to deliver up for destruction all products, labels, signs, prints,
                                                               17   packages, wrappers, receptacles, and advertisements in Jem’s possession bearing the
                                                               18   mark INFINITY and any similar marks, alone or in combination with any other
                                                               19   word(s), term(s), designation(s), mark(s), or design(s), pursuant to 15 U.S.C. § 1118;
                                                               20             d.     Require Jem to file with the Court and serve on Harman within thirty
                                                               21   (30) days after entry of an injunction and destruction orders a report in writing under
                                                               22   oath setting forth in detail how Jem has complied with such orders;
                                                               23             e.     Award Harman its reasonable costs and attorney’s fees associated with
                                                               24   the claims set forth in this action under federal and state law;
                                                               25             f.     Declare that Harman’s use of Xtreme for speakers, including those
                                                               26   identified and not identified in Jem’s New York action, does not infringe, unfairly
                                                               27   compete with, dilute or otherwise violate in any way Jem’s federally registered
                                                               28
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                                                               1    XTREME DIGITAL LIFESTYLE ACCESSORIES (Stylized) and XTRAEM marks
                                                               2    under the Lanham Act or any other federal or state law;
                                                               3              g.     Declare that Harman’s use of Xtreme for speakers, including those
                                                               4    identified and not identified in Jem’s New York action, does not infringe, unfairly
                                                               5    compete with, dilute or otherwise violate in any way Jem’s alleged common-law
                                                               6    marks Xtreme, X Xtreme, Xtreme Digital Lifestyle Accessories, Xtraem or any
                                                               7    variation thereof under the federal Lanham Act or any other federal or state law; and
                                                               8              h.     Grant such other and further relief as the Court may deem just and
                                                               9    proper.
                                                               10
                                                                    Dated: September 8, 2020                     SNELL & WILMER L.L.P.
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                                                                                                                       Patrick W. Kelly
                                                               14
                                                                                                                 Attorneys for Plaintiff
                                                               15                                                Harman International Industries, Inc.
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                                                               1                                 DEMAND FOR JURY TRIAL
                                                               2              Harman International Industries, Inc. hereby demands a trial by jury on all
                                                               3    claims so triable.
                                                               4
                                                                    Dated: September 8, 2020                       SNELL & WILMER L.L.P.
                                                               5
                                                               6
                                                                                                                   By:
                                                               7                                                         Patrick W. Kelly
                                                               8
                                                                                                                   Attorneys for Plaintiff
                                                               9                                                   Harman International Industries, Inc.
                                                               10
                                                               11
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